                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CRIMINAL DOCKET NO. 3:08CR93-WEB-DCK


UNITED STATES OF AMERICA            )
                                    )
                                    )
            v.                      )                      ORDER
                                    )
                                    )
BRYAN KOS                           )
____________________________________)

       THIS MATTER IS BEFORE THE COURT on the “Motion To Adopt Extension Of Time

To File Response” (Document No. 15) filed by the defendant, Bryan Kos, on August 22, 2008. In

essence, the Defendant seeks an extension of time to respond to the government’s motion in limine

(Documents No. 13). Insofar as the Court has already granted this extension for the co-defendant,

the motion will be granted.

       IT IS THEREFORE ORDERED that the “Motion To Adopt Extension Of Time To File

Response” (Document No. 15) filed by the defendant, Bryan Kos, is hereby GRANTED.

       IT IS FURTHER ORDERED that the defendant, Bryan Kos, shall have until September

22, 2008 to file a response to the government’s motion in limine (Document No. 13).



                                               Signed: August 27, 2008




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